Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 1 of 11




                EXHIBIT A
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 2 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 3 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 4 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 5 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 6 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 7 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 8 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 9 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 10 of 11
Case 1:19-cv-10774-WGY Document 1-1 Filed 04/19/19 Page 11 of 11
